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B1040 (FORM 1040) (12/15)


           ADVERSARY PROCEEDING COVER SHEET                                                                  ADVERSARY PROCEEDING NUMBER
                                                                                                             (Court Use Only)
                                   (Instructions on Reverse)

      PLAINTIFFS                                                                               DEFENDANTS
        Shelly Marie Ewert                                                                        US Dept of Education
        PO Box 208                                                                                Nelnet (Servicer)
        Hazel Green, WI 53811

      ATTORNEYS (Firm Name, Address, and Telephone No.)                                        ATTORNEYS (If Known)
        Dustin Baker
        Henkels & Baker, PC
        2774 University Ave
        Suite G
        Dubuque, IA 52001
        5635564060 Fax: 5635560805
      PARTY (Check One Box Only)                                                               PARTY (Check One Box Only)
         Debtor                       U.S. Trustee/Bankruptcy Admin                                Debtor                       U.S. Trustee/Bankruptcy Admin
         Creditor                     Other                                                        Creditor                     Other
         Trustee                                                                                   Trustee

  CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUES INVOLVED)


                                                                                NATURE OF SUIT
              (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

        FRBP 7001(1) - Recovery of Money/Property                                        FRBP 7001(6) - Dischargeability (continued)
[ ]     11-Recovery of money/property - §542 turnover of property                  [ ]   61-Dischargeability - §523(a)(5), domestic support
[ ]     12-Recovery of money/property - §547 preference                            [ ]   68-Dischargeability - §523(a)(6), willful and malicious injury
[ ]     13-Recovery of money/property - §548 fraudulent transfer                   [1]   63-Dischargeability - §523(a)(8), student loan
[ ]     14-Recovery of money/property - other                                      [ ]   64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                                 (other than domestic support)
                                                                                   [ ]   65-Dischargeability - other
        FRBP 7001(2) - Validity, Priority or Extent of Lien
[ ]     21-Validity, priority or extent of lien or other interest in property            FRBP 7001(7) - Injunctive Relief
                                                                                   [ ]   71-Injunctive relief - imposition of stay
        FRBP 7001(3) - Approval of Sale of Property                                [ ]   72-Injunctive relief - other
[ ]     31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                         FRBP 7001(8) Subordination of Claim or Interest
        FRBP 7001(4) - Objection/Revocation of Discharge                           [ ]   81-Subordination of claim or interest
[ ]     41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                         FRBP 7001(9) Declaratory Judgment
        FRBP 7001(5) - Revocation of Confirmation                                  [ ]   91-Declaratory judgment
[ ]     51-Revocation of confirmation
                                                                                         FRBP 7001(10) Determination of Removed Action
        FRBP 7001(6) - Dischargeability                                            [ ]   01-Determination of removed claim or cause
[ ]     66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
[ ]     62-Dischargeability - §523(a)(2), false pretenses,                               Other
             false representation, actual fraud                                    [ ]   SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
[ ]     67-Dischargeability - §523(a)(4), fraud as fiduciary,                      [ ]   02-Other (e.g. other actions that would have been brought in state
             embezzlement, larceny                                                            court if unrelated to bankruptcy case)
                  (continued next column)



      Check if this case involves a substantive issue of state law                              Check if this is asserted to be a class action under FRCP 23

      Check if a jury trial is demanded in complaint                                        Demand $

      Other Relief Sought
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                    BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                                       BANKRUPTCY CASE NO.
     Shelly Marie Ewert
                                                                                                          23-00280
DISTRICT IN WHICH CASE IS PENDING                        DIVISION OFFICE                      NAME OF JUDGE
     Northern District of Iowa
                                          RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF                                       DEFENDANT                                        ADVERSARY PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY IS PENDING                          DIVISION OFFICE                  NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)



 /s/ Dustin Baker
 Dustin Baker

DATE                                            PRINT NAME OF ATTORNEY (OR PLAINTIFF)
July 3, 2023                                    Dustin Baker

                                                              INSTRUCTIONS

         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of the
property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the jurisdiction of the court
so broad, there may be lawsuits over the property or property rights of the estate. There also may be lawsuits concerning the debtor’s
discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary proceeding.

         A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding Cover Sheet,
unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case Filing system
(CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When completed, the cover sheet
summarizes basic information on the adversary proceeding. The clerk of court needs the information to process the adversary
proceeding and prepare required statistical reports on court activity.

        The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or other
papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-explanatory, must be
completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an attorney). A separate cover sheet must be
submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the plaintiff is
represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an attorney, the plaintiff
must sign.
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                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF IOWA

IN RE:                                 )            CHAPTER 7
                                       )
SHELLY M. EWERT ,                      )            BANKRUPTCY #23-00280
                                       )
                    Debtor,            )
___________________________________________________________________________________
                                       )
SHELLY M. EWERT ,                      )            ADVERSARY #
                                       )
                    Plaintiff,         )
                                       )
Vs.                                    )            COMPLAINT TO DETERMINE
                                       )            DISCHARGEABLITY OF
U.S. DEPARTMENT OF EDUCATION, )                     EDUCATIONAL LOAN
and NELNET (SERVICER)                  )
                                       )
                    Defendants.        )

     COMPLAINT TO DETERMINE DISCHARGEABILITY OF STUDENT LOANS

      Randi M. Meyer, Plaintiff herein, represented by undersigned counsel for her
complaint against the Defendant, alleges as follows:


                                    I.   NATURE OF CASE

         1. This is an action to declare the Plaintiff’s student loan debt to Defendant,
            United States Department of Education, dischargeable as an undue
            hardship under 11 U.S.C. § 523(a)(8).

                              II.   JURISDICTION AND VENUE

         2. This Court has jurisdiction over this Adversary Proceeding pursuant to 28
            U.S.C. § 1334(b) and 28 U.S.C § 157(b). This is a core proceeding under
            Title 11 because it concerns a determination as to the dischargeability of a
            debt.

         3. Venue is proper in the Northern District of Iowa pursuant to 28 U.S.C. §
            1409 because this matter arises in and is related to a bankruptcy case in
            this district.
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   4. This is a core proceeding over which this court has jurisdiction under 28
      U.S.C. §157(b).

                                III.   PARTIES

   5. Plaintiff is a resident at PO Box 208, Hazel Green, Wisconsin.

   6. Defendant is a qualifying governmental institution in the business of
      making, insuring, and guaranteeing student loans. Defendant’s mailing
      address is United States Department of Education, 400 Maryland Ave, SW,
      Washington, DC 20202.

                         IV.   STATEMENT OF FACTS

   7. One of the unsecured debts owed by Debtor and listed in Schedule F is a
      student loan, owed to Defendant and serviced by Nelnet, for $8,450.00

   8. This loan was incurred to pay educational expenses and to pay living
      expenses during the pursuit of her education.

                V.   DETERMINATION OF DISCHARGEABILITY

   9. Under Section 523(a)(8) of the Bankruptcy Code, certain student loans may
      not be discharged in bankruptcy unless the bankruptcy court determines
      that payment of the loan “would impose an undue hardship on the debtor
      and the debtor’s dependents.” 11 U.S.C. § 523(a)(8).

   10. In the Eighth Circuit, courts employ a “totality of circumstances” test to
      determine whether repayment of student loan debt would cause an undue
      hardship. See, e.g., In re Long, 322 F.3d 549, 554 (8th Cir. 2003). The
      totality test for undue hardship looks to (1) the debtor’s past, present, and
      reasonably reliable future financial resources; (2) a calculation of the
      debtor’s and their dependents’ reasonably necessary living expenses; and (3)
      any other relevant facts and circumstances surrounding each particular
      bankruptcy case. Id.

                  i. Plaintiff’s past, present, and reasonably reliable future
                     financial resources are insufficient to make payments, in any
                     amount, and maintain a reasonable standard of living.
                 ii. Plaintiff’s living expenses are reasonable.
                iii. For privacy purposes, additional facts and circumstances
                     surrounding this particular case will be submitted directly to
                     the assigned Assistant United States Attorney in Attestation
                     form.
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WHEREFORE, Plaintiff respectfully requests this Court to enter an order finding that
excepting her student loans from discharge would impose an undue hardship as
provided in 11 USC §523(a)(8), declaring the student loans to be included in Plaintiff’s
discharge under §727(a)/1328(a), and for any other relief as the Court deems just and
proper.



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